Case 0:17-cv-60426-UU Document 243-8 Entered on FLSD Docket 10/12/2018 Page 1 of 6




                             Exhibit 7
Case 0:17-cv-60426-UU Document 243-8 Entered on FLSD Docket 10/12/2018 Page 2 of 6




                                    In the Matter Of:

                              GUBAREV vs BUZZFEED
                                         17-cv-60426-UU




                                   DAVID KRAMER

                                   December 13, 2017




                                  Attorneys Eyes Only
Case 0:17-cv-60426-UU Document 243-8 Entered on FLSD Docket 10/12/2018 Page 3 of 6

     DAVID KRAMER· Attorneys Eyes Only                        December 13, 2017
     GUBAREV vs BUZZFEED                                                      1

·1· · · · · · IN THE UNITED STATES DISTRICT· COURT
· · · · · · · FOR THE SOUTHERN DISTRICT OF FLORIDA
·2
· · · · · · · · · · · · · Civil Action No. 17-cv-60426-UU
·3

·4
· · ·ALEKSEJ GUBAREV, et al.,
·5
· · · · · · · · ·Plaintiffs,
·6
· · ·vs.
·7

·8· ·BUZZFEED, INC., et al.,

·9· · · · · · · ·Defendants.
· · ·__________________________________________X
10

11
· · · · · · · · · · · · · 44 West Flagler Street
12· · · · · · · · · · · · 14th Floor
· · · · · · · · · · · · · Miami, Florida
13

14· · · · · · · · · · · · Wednesday, December 13, 2017
· · · · · · · · · · · · · 9:59 a.m. - 1:32 p.m.
15

16
· · · · · · · · · · ·ATTORNEYS' EYES ONLY
17

18· · · · · · · · · VIDEOTAPED DEPOSITION OF
· · · · · · · · · · · · · DAVID KRAMER
19

20

21

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Case 0:17-cv-60426-UU Document 243-8 Entered on FLSD Docket 10/12/2018 Page 4 of 6

     DAVID KRAMER· Attorneys Eyes Only                        December 13, 2017
     GUBAREV vs BUZZFEED                                                    110

·1· ·I had not spoken to Julian Borger before, I had not
·2· ·spoken to David Korn before, and the two of them met me
·3· ·together.· Korn was part of that meeting as well.
·4· · · Q.· Sorry, that's the meeting when the CNN broadcast
·5· ·came?
·6· · · A.· No, no, sorry.· So early December meeting, my
·7· ·meeting with Julian Borger and David Korn, and then
·8· ·January 10th, Julian Borger just coincidentally just
·9· ·happened to come see me when the news broke on CNN.
10· · · Q.· Were you talking about The Dossier at the time?
11· · · A.· Yes, we were talking to see if I had heard
12· ·anything more, and at that point I really hadn't.· But
13· ·then we all did.
14· · · Q.· During your conversation with Mr. Bensinger, did
15· ·you tell him that Senator McCain had given The Dossier
16· ·to the FBI?
17· · · A.· Yes.
18· · · Q.· Did you make a distinction between the last two
19· ·pages of the document and the rest of the document, or
20· ·did you tell him that The Dossier had been given by
21· ·McCain to the FBI?
22· · · A.· I did not distinguish between the last two pages
23· ·and the rest of it.
24· · · Q.· Did Mr. Bensinger know that already when you
25· ·talked to him?


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Case 0:17-cv-60426-UU Document 243-8 Entered on FLSD Docket 10/12/2018 Page 5 of 6

     DAVID KRAMER· Attorneys Eyes Only                        December 13, 2017
     GUBAREV vs BUZZFEED                                                    111

·1· · · A.· Know what, I'm sorry?
·2· · · Q.· Know that Senator McCain had given the document
·3· ·to the FBI?
·4· · · A.· Yes.· Yes.· And I think -- I told him certainly
·5· ·and I think he knew possibly from Mr. Steele as well.
·6· · · · · I can't swear to that, but I think --
·7· · · Q.· What, if anything, did you tell Mr. Bensinger
·8· ·about the seriousness with which you took the
·9· ·allegations in The Dossier?
10· · · A.· I laid out the same three reasons to him as I
11· ·explained a little earlier, which is Mr. Steele's bona
12· ·fides, the behavior of the Russians, and the comments by
13· ·the Trump Campaign.· And I felt that it warranted a
14· ·serious investigation.
15· · · Q.· Did you believe that there was an investigation
16· ·going on at the time?
17· · · A.· The end of December did I believe there was
18· ·investigation going on?· I don't think I knew that there
19· ·was.
20· · · Q.· Did you think there was?
21· · · A.· I thought it was a possibility, but I was not --
22· ·since I had nobody I knew in the FBI, I had no contacts
23· ·there, I was not in a position to know for sure.
24· · · Q.· But you knew McCain had given it to the FBI?
25· · · A.· Correct.


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Case 0:17-cv-60426-UU Document 243-8 Entered on FLSD Docket 10/12/2018 Page 6 of 6

     DAVID KRAMER· Attorneys Eyes Only                        December 13, 2017
     GUBAREV vs BUZZFEED                                                    133

·1· · · · · · · · · ·REPORTER'S DEPOSITION CERTIFICATE

·2
· · ·STATE OF FLORIDA)
·3
· · ·COUNTY OF MIAMI-DADE)
·4

·5· · · · · · · I, the undersigned authority, certify that I

·6· ·was authorized to and did stenographically report the

·7· ·foregoing deposition; and that the transcript is a true

·8· ·record of the testimony given by the witness.

·9

10· · · · · · · That the witness requested reading and

11· ·signing.

12

13· · · · · · · I further certify that I am not of counsel,

14· ·Am not related to nor employed by any attorney to this

15· ·suit and am not financially interested in the outcome

16· ·thereof.

17

18

19· · · · · · · Dated this 13th day of December 2017

20

21

22

23· · · · · · ·____________________________________

24· · · · · · · · · · · ·JEROME E. HARRIS

25


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